
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on May 14, 1974 (294 So.2d 422) affirming the order of the circuit court of Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed April 21, 1976 (331 So.2d 301) and mandate now lodged in this court, quashed this court’s judgment;
*403NOW, THEREFORE, It is Ordered that the mandate of this court heretofore issued in this cause on May 31,1974 is withdrawn, the judgment of this court filed May 14, 1974 is vacated and the opinion and judgment of the Supreme Court of Florida in this cause is herewith made the opinion and judgment of this court, the order of the trial court appealed herein is reversed and the cause is remanded for further proceedings consistent with the opinion and judgment of the Supreme Court of Florida. Costs allowed shall be taxed in the trial court (Rule 3.16 b, F.A.R.).
